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 5                            UNITED STATES DISTRICT COURT
 6                                 DISTRICT OF NEVADA
 7                                           ***
 8

 9   UNITED STATES OF AMERICA,                )           2:12-CR-00063-PMP-CWH
                                              )
10                   Plaintiff,               )
                                              )                        ORDER
11   vs.                                      )
                                              )
12                                            )
     ROSS HACK, MELISSA HACK,                 )
13   LELAND JONES,                            )
                                              )
14                                            )
                     Defendants.              )
15                                            )
16            On January 25, 2013, counsel for the Parties filed a Joint Status Report (Doc.
17   #84) advising the Court that Plaintiff United States will shortly file a motion for
18   protective order relating to the disclosure of certain Jencks material and other
19   discovery. The Court has separately scheduled a hearing regarding certain discovery
20   matters for Wednesday, March 6, 2013. To assist the Court in maintaining a reasonable
21   schedule in this case,
22            IT IS HEREBY ORDERED, as follows:
23            1. Plaintiff United States shall file its Proposed Motion for Protective Order
24   not later than February 4, 2013.
25            2. Coterminous with the filing of the Motion for Protective Order, Plaintiff
26   United States shall submit under seal and ex parte to the Court for in camera review
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 1   the Jencks Act material and other discovery which the Government maintains should
 2   be disclosed to counsel for Defendants subject to the Proposed Protective Order.
 3   DATED this 28th day of January, 2013.
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 7                                            PHILIP M. PRO
                                              United States District Judge
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